     Case 2:20-cv-01374-APG-DJA Document 16 Filed 12/29/20 Page 1 of 1



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 8
                                UNITED STATES DISTRICT COURT
 9
                                        DISTRICT OF NEVADA
10
     ZURICH AMERICAN INSURANCE                      )     CASE NO.:    2:20-cv-01374-APG-DJA
11   COMPANY,                                       )
                                                    )
12                 Plaintiff,                       )     ORDER ON STIPULATION TO EXTEND
                                                    )     TIME TO FILE REPLY TO OPPOSITION
13          vs.                                     )     TO MOTION TO DISMISS
                                                    )
14   ASPEN SPECIALTY INSURANCE                      )
     COMPANY,                                       )
15                                                  )
                   Defendant.                       )
16                                                  )
17
                                                 ORDER
18
            The parties hereto, by and through their respective counsel of record, having submitted a
19
     stipulation to extend the time for Defendant Aspen Specialty Insurance Company’s (“Aspen”) TO
20
     file a Reply to Plaintiff Zurich American Insurance Company (“Zurich”)’s Opposition to Motion
21
     to Dismiss the complaint in this action, IT IS HEREBY ORDERED that the time for Aspen to
22
     Reply to Zurich’s Opposition to Motion to Dismiss is extended to January 5, 2021.
23
     IT IS SO ORDERED.
24

25   DATED: December 29, 2020
26
                                                           UNITED STATES DISTRICT JUDGE
27

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     [PROPOSED ORDER]                                                 CASE NO.: 2:20-cv-01374-APG-DJA
